Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 1 of 50 PagelD: 330

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July 26, 2018

Honorable Susan D. Wigenton

Martin Luther King Bldg and US Courthouse
50 Walnut St

Newark, NJ 07101

Re: Gerval v Gonzalez

Dear Judge Wigenton:

Docket #: 17-ev-12179

I am enclosing papers which | have today filed with the district court.
Regarding the Guardian ad litem ‘s response to the court.

I original made a motion to disqualify the Guardian which was denied by the
Magistrate.

I now find that the Guardian has taken a position on this case before we even have had
testimony.

My reply papers clearly object to Guardian making conclusions of law.

I would ask your Honor to read my reply papers and the response papers from
Guardian ad litem.

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Respectfully oul

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

NEWARK DIVISION

In the Matter of C.G. )
)
Emeric Gerval, )
)
Petitioner, )

) Case No, 1 7-cv-12179
Vv. )
)
Niurkas Gonzalez, )
)
Respondent. )
)

 

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REPLY PAPERS TO THE GUARDIAN AD-LITEM’S
RESPONSE TO AMENDED PETITION AND VERIFIED COMPLAINT

On July 16, 2018, the Law Guardian (“Guardian” or “Ms. Apy”) submitted a Response to
Petition for Return, Application for Dismissal of Petition and Alternate Relief. The
Guardian’s Response was totally improper and not in line with the Guardian’s
responsibilities as set forth in the order that was designated by Judge Wigenton.

The Guardian proceeded to make premature conclusions of law and issue findings of fact
for the entire case, which she did not have the right to do. There has not been any trial in
this matter nor has any testimony been taken by any of the parties. The only substantive
documents that have been submitted to the court have been the Petition, the Answer and
the Response. No other evidence has been produced nor submitted in this case at this
time.

For the Guardian to decide that the petitioner has not met the statutory requirements for
the relief required in the Hague petition is totally improper and this is not the Guardian's

purview, The Guardian also has no authority to make findings of fact as she is not the
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Petitioner alleges the parties verbally altered their agreement so the Child would return in
July 2016.

In Paragraphs 8 and 9, Ms. Apy excoriates Petitioner for not proceeding in State Court
and instead exercising his statutory right (pursuant to the International Child Abduction
Remedies Act) to initiates proceedings in this District Court.

In Paragraph 9, the Guardian, for someone unknown reason, decided to state that New
Jersey has exclusive jurisdiction to make an initial child custody determination.
However, the Guardian, again, for some unknown reason, DID NOT state unequivocally
that the Hague Convention Treaty is not bound by, nor should it take into consideration,
whether the United States has any jurisdiction to make child custody determinations. If
that were the case, many Hague abduction matters would have been decided differently.
Again, it is unknown whether the Guardian is unaware of the law or chose simply to

ignore it,

. In Paragraph 10, the Guardian refers to some French proceedings which have no bearing

on this matter, No order establishing habitual residence is required under the Hague
Convention Treaty nor under ICARA. No order for parental responsibility is required
under either as well. The mere fact that the Guardian keeps insisting on telling the Court
what Petitioner has not done or what he does not have proof of (when it is all quite

irrelevant) is very disturbing.

. Again, the Guardian does not cite to any caselaw to suggest that her statements are

relevant to these proceedings. She seemingly only make such statements to cast
Petitioner in a poor light to the Court. Unless Ms. Apy can cite to a single case where the

Petitioner had to file his case in State Court or needs an order establishing habitual
Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 4 of 50 PagelD: 333

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residence from a French court, her statements should be ignored, discounted and

prohibited in the future.

. In Paragraph 12, the Guardian states that the agreement by the parties that the Child

would return to France by January 2016 did not include a “reference to habitual
residence, no reference to choice of law, no reference to the existing law of either
country.” As stated repeatedly, no such references are required or relevant to establishing
a prima facie case.

Special focus should be afforded to Paragraph 13 of the Guardian’s Response. First, she
states that after January of 2016, “no additional order... extended the consent, nor
importantly, no end date by which the minor child was required to be repatriated...” The
Guardian then goes on to state that “the Petitioner consented to the extension of time for
an indeterminate time in the United States, without an express extension of the prior
written consent.” (emphasis added).

As stated in the opening to this Reply, this is a prime example of the Guardian's
unfounded and inappropriate findings of fact. There is no proof that Petitioner consented
to an extension for an indeterminate amount of time. In fact, the Petition clearly states,
in Paragraph 11, that “[w]hile in the United States, Respondent informed Petitioner that
she required one additional semester to complete her studies and would return in July
2016 instead” and that “Petitioner consented to the return of the Child to France in July
2016.” In Paragraph 12 of the Petition, it further states that “[o]n February 26, 2016, one-
way tickets were purchased for both Respondent and the Chile to France on July 19,

2016.”
Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 5 of 50 PagelD: 334

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First, a Court is bound to determine habitual residence prior to the alleged wrongful
removal or retention. Article 3 of the Hague Conventions states, in relevant part, that the
retention is wrongful where it is In breach of custody rights “under the law of the State in
which the child was habitually resident immediately before the removal or retention.”
Article 4 states that “t]he Convention shall apply to any child who was habitually
resident in a Contracting State immediately before any breach of custody or access rights.
Therefore, the Guardian's statement about the habitual residence shifting because of any

acquiescence or delay is without merit and also a misrepresentation of the relevant law.

. Second, acquiescence is an affirmative defense pursuant to Article 13 while any alleged

delay in filing a Petition is an affirmative defense pursuant to Article 12 of the Hague
Convention, Neither Article disturbs where the Child’s habitual residence was prior to
the wrongful retention, In fact, only ifthe Child’s habitual residence was in France (a
requirement to establish a prima facie case) would any affirmative defense be an issue in
this case. So for Ms. Apy to make a logical argument that the existing of an affirmative
defense negates the existing of a foreign habitual residence is illogical and incorrect.

In Paragraphs |5 and 16, the Guardian seems to dismiss Petitioner's rights of custody.
Article 5 of the Hague Convention states that rights of custody include “rights relating to
the care of the person of the child and, in particular, the right to determine the child’s
place of residence.” In operation of law cases, which this is, courts usually assess the
rights granted to the petitioner under the applicable civil code. See Sealed Appellant v.
Sealed Appellee, 394 F.3d 338, 343-44 (5"" Cir. 2004). The Hague Convention expressly
allows United States courts to take notice of the laws of foreign courts regarding custody

determinations. Hague Convention, Art. 14.
Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 6 of 50 PagelD: 335

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Petitioner, in his Petition (paragraph 25), cited to Articles 372 and 373-2 of the French
Civil Code to support the existence of his custody rights. To the extent necessary, further
proof can be provided at a later hearing and this Court can take judicial notice of the
French Civil Code as stated in the Hague Convention Treaty.

In response to the Guardian’s assertion that the Petitioner was not exercising his custodial
rights and therefore his Petition should be dismissed, it should be noted that Article 3 of
the Hague Convention states “at the time of the removal or retention those [custody]
rights were actually exercised... or would have been so exercised but for the removal or
retention.” The Sixth Circuit, in Friedrich v. Friedrich (Friedrich I), 78 F.3d 1060,
1065-66 (6"" Cir, 1996) described the requirements for the defense of failure to exercise
custodial rights:

Enforcement of the Convention should not to be made dependent on the creation of a
common law definition of “exercise.” The only acceptable solution, in the absence of a
ruling from a court in the country of habitual residence, is to liberally find “exercise”
whenever a parent with de jure custody rights keeps, or seeks to keep, any sort of regular

contact with his or her child.

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We therefore hold that, ifa person has valid custody rights to a child under the law of the
country of the child’s habitual residence, that person cannot fail to “exercise” those
custody rights under the Hague Convention short of acts that constitute clear and
unequivocal abandonment of the child. (footnote omitted) Once it determines that the
parent exercised custody rights in any manner, the court should stop—completely
avoiding the question whether the parent exercised the custody rights well or badly.
These matters go to the merits of the custody dispute and are, therefore, beyond the
subject matter jurisdiction of the federal courts.

In response to the Guardian’s assertion that the Child is now well-settled in the United
States, it is respectfully argued that the Child is too young to be considered well-settled.
At three years old, Courts have found that such an age is too young to develop the
necessary connections to be considered well-settled, See David S. v. Zamira S., 574

N.Y.S.2d 429, 433 (N.Y, Fam. Ct. 1991) (finding that children at ages three and one and
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one-half were not yet involved in school or other forms of social activities which might

establish that children were settled).
WHEREFORE, it is respectfully requested that Petitioner’s Petition be granted in its

entirety and for such other relief as this Court deems just and proper.

Od a) ( —

Robert D. Arenstein (RA0580)
Attorney jor Petitioner

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Dated: July ‘>, 2018

 
 
 
 
  
  

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inflicted harm).) Respondent alleges that

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* The Court expresses i$ gratitude to th
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significant weight.

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96); (2) cleared out the
inflicted injuries on herself
80, 98-10) -) The respondent denies each of these
2/10/12 Tr, 556 (furniture); 12/10/12 Tr. $00 (self

petitioner repeatedly hit, beat, kicked, and sexually

e fine service of the guardian ad litem. While the guardian ac liven Ps views
Ppreciated, the guardian’s views on ultimate issues, such as the risk ces iS
the child to fran, which are principally based on the credibility of the parties, ate not Sr

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Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 9 of 50 PagelD: 338
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

Case No. 17-cv-12179-SDW-LDW
In the Matter of C.G.,

Emeric Gerval
Petitioner,
Vv.

Niurka Gonzalez,

Respondent

 

RESPONSE TO PETITION FOR RETURN, APPLICATION
FOR DISMISSAL OF PETITION AND ALTERNATIVE RELIEF

PRELIMINARY STATEMENT

1. Pursuant to 22 USC 9001, and 22 USC 9004 et seq., and in accordance with the Order
entered by this Court on March 28, 2018; and confirmed by Order entered May, 14,
2018; Patricia E Apy Esq. answers the Petition and Answer filed by both parties in the
above captioned matter, on behalf of the minor child C.G, Respectfully, that
application asserts that the Petitioner, Emeric Gerval has not met the statutory
requirements to provide for the extraordinary relief contained in the requested orders,
and alternatively there exist affirmative defenses which require the Court to exercise its
discretion in denying a return. Accordingly, it is respectfully requested that the
application must be dismissed. Didon v Castillo , 830 F.3d 313 (3d Cir, 2016); Koch v
Koch 450 F.3d. 703,711 ( 7" Cir. 2006)

2. The Law Guardian concurs that both the United States of America and France are

Contracting States under the Hague Convention on the Civil Aspects of International
Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 10 of 50 PagelD: 339
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to the United States Courts. There is no question that under substantive state law,
exclusive jurisdiction for the rendering of initial child custody determination wrested in
the Superior Court of New Jersey-Family Part, County of Mercer, United States of
America.
FRENCH PROCEEDINGS

The Respondent has received notice of proceedings having been initiated on June 26,
2018 by the Petitioner regarding the care and custody of the minor child, to take place
in France on or about September 24, 2016. Those documents were not translated into
English and were not submitted to the Law Guardian. They are relevant to this Court’s
determination only to confirm that there exists no order from a French Court
establishing the child’s habitual residence, nor the issues of parental responsibility,
capable of recognition or enforcement.

STATUS OF THE MINOR DAUGHTER
The Petitioner is required to demonstrate, on the face of the Petition, the basis for the
application of the Treaty. The Petition asserts that the child was born in France and was
five months old at the time that she travelled with her mother to the United States.
The document executed by the Respondent contains an agreement by the parties that
the Mother and minor child would remain in the United States with the consent of the
Father until January of 2016. There is no reference to habitual residence, no reference
to choice of law, no reference to the existing law of either country; and this agreement
was admittedly not accompanied by any order,
In the Father’s Annex I, the document submitted to the French Central Authority, he

confirms that the Mother did not return in January of 2016. However, according to the
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constitute a cause of action cognizable under the Act., and as a result, this Court may,
as an initial proposition, exercise its concurrent jurisdiction, limited to a determination
of the application of the Treaty. Based upon the affirmative filing of the Petitioner, |
do not believe that he has raised a prima facie case, and therefore, no separate exercise
of “federal question’ jurisdiction has been raised, 28 USC 1331.

NEW JERSEY PROCEEDINGS

6. It is uncontroverted that on May 3, 2017, the Respondent Mother filed the first
application before any judicial body seeking an order affirming the physical custody of
the minor child in the Mother, subject to the exercise of rights of parental access of the
Petitioner Father, which she sought be established in that proceeding. At the time when
her application was filed, she affirmed that the minor child had been in the United
States, from approximately August 15, 2015, nearly 1 year and 9 months. She certified
that no application had been made in France with regard to the care or custody of the
child.

7. In response to that filing, both parties engaged counsel and several things happened.
First, in early June of 2016 the parties executed a document severing their civil
partnership under French law. They then began to negotiate a shared parenting
agreement; several drafts of orders of Consent were exchanged, but no agreement to a
shared parenting plan could be reached. The return date of the Mother’s application
was scheduled for July 18, 2017. The matter was subsequently adjourned until July 31,
2017. Sometime within that time period, the Petitioner filed his administrative
application to the French Central Authority under the Hague Convention on the Civil

Aspects of International Child Abduction, only a portion of which is appended to the
Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 12 of 50 PagelD: 341
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filed Petition. Sec. 5 of that application, entitled “Annex I”, confirms that the
Petitioner’s Hague application was filed in response to the Mother’s State Court filing,
and alleges that, “ the illegal removal started in July 2016 when my ex-partner canceled
her one-way flight tickets and a procedure has been initiated in May 2017 to the New
Jersey State Court.” In reviewing the express written document on which the Petitioner
relies regarding the parties’ agreement, the return date reflected is January of 2016.

8. It is unclear from the appended documents, however, on September 7, 2017 Judge
Council received correspondence in the form of a form letter documenting that an
administrative filing had been lodged with the French Central Authority and
transmitted to the United States Department of State. That letter reiterated the
requirements of the Treaty under Article 16: “After receiving notice of a wrongful
removal or retention of a child in the sense of Article 3, the judicial or administrative
authorities of the Contracting State to which the child has been removed or in which it
has been retained shall not decide the merits of rights of custody until it has been
determined that the child is not to be returned under the Convention or unless an
application under this Convention is not lodged within a reasonable time following
receipt of notice.”

9. While the Petitioner could have immediately advanced his argument of wrongful
retention before the State court, as permitted under the Treaty, he chose not to do so,
and areued instead that the State Court proceeding not be permitted to proceed. The
Honorable Gerald Council dismissed, without prejudice, the pending non-dissolution
custody action “pending the Hague application” on September 8, 2017. It would be

nearly 3 months, until November 29, 2017 when the first judicial application was made
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Petition, the first time that the Petitioner is aware that the Plaintiff is not prepared to
permanently move back to France is in July of 2016. This provision makes absolutely
no sense. There is provided no additional order which extended the consent, nor
importantly, no end date by which the minor child was required to be repatriated, after
January of 2016. It is clear, that the Petitioner consented to the extension of time for
an indeterminate time in the United States, without an express extension of the prior
written consent, The Petitioner took no steps to in France or in the United States to
secure the immediate return of the minor child to the United States, Despite asserting
that there was a new agreement, no proof of same has been provided.

Further, the Petitioner waited an entire year, and only after his and his attorney's efforts
at negotiating a parenting time agreement were unsuccessful in State Court, to allege
that an abduction had taken place. . Either the Petitioner agreed in January of 2016 that
the minor child could remain in the United States an indeterminate time, or he
acquiesced to the minor child remaining in the United States, and made his Hague
application a year and six months after the Respondent failed to return in January,
Either way, the habitual residence would under those circumstances be the United
States of America.

RIGHTS OF CUSTODY

As regards the minor daughter, the Respondent other than the first five months of her
life, has resided in the United States. The pleadings reflect only one visit of the
Petitioner in July of 2016, It should be noted that despite an order providing a

mechanism for the exercise of parental access as a provisional measure, no request has
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been made by the Petitioner to the Law Guardian to arrange parental access In any
form.
16. While the Petitioner may asserts de jure rights of custody pursuant to French law, no
such proofs were appended to the Petition.
RELIEF REQUESTED
WHEREFORE, the Law Guardian, respectfully requests on behalf of the child the
following relief:

For an Order pursuant to 42 U.S.C, 9001 et. seq.

A. Dismissing the Petition as filed, and denying all other requested relief of the
Petitioner;
B. Finding that as of no later than January of 2017, if not sooner, the United States

of America, State of New Jersey became the habitual residence of C.G. and no
wrongful removal or retention has occurred pursuant to Articles 3 and 5 of the
Treaty.
AFFIRMATIVE DEFENSES

Even in the event that that the Court were to determine that the retention of the minor
daughter could be considered “wrongful” within the meaning of the Convention, the Court must

decline to return the subject children to France pursuant to the provisions of the Treaty
A. Pursuant to Article 13(a), the behavior of the Petitioner, both at the time alleged to
constitute the wrongful removal and his behavior thereafter, evidences a lack of
intention to actually exercise custody rights which may have inured to him as a

matter of law, and his behavior subsequent to the removal alleged to be wrongful.
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Pursuant to Article 12, the Court should decline to order the repatriation of the
child, as the child has become well-settled in the United States State of New Jersey,
and there was a year between the date alleged to constitute the wrongful retention
of the child, and the filing of the application for return of the child, Belay v
Getachew, 272 F.Supp 2d 553 ( D.Md. 2003)

FINAL ORDER

A. The Respondent seeks an Order dismissing completely the prayer for relief contained

in the application as made by the Petitioner with respect to the minor children, and
directing the parties to the New Jersey Superior Court, County of Mercer to resolve
any disputed terms and conditions of parenting time in accordance with the best
interests of the minor child, and for the enforcement of any foreign orders which may
in the future be alleged to be capable of such enforcement.

Denying, pursuant to Article 26 of The Convention, any payment of expenditures

and/or costs to date alleged by Petitioner to be compensable in this matter.

C. For such further relief as the Court may deem equitable and just.

DATED:

July 16, 2018
{Si

 

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The Galleria

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Attorneys for the Respondent
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UNITED STATES DISTRICT COURT |
SOUTHERN DISTRICT OF NEW YORK
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In the Matter of One Infant Child, o - a (24 2%|12-
ABDOLLAH NAGHASH SOURATGAR,
Petitioner, 12 Civ. 7797 (PKC)
-against-
MEMORANDUM
AND ORDER

LEE JEN FAIR,

Respondent,

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P. KEVIN CASTEL, District Judge:

Petitioner Abdollah Naghash Souratgar, an Iranian citizen, petitions this Court for
ihe return of his son, Shayan, to Singapore. Shayan, who will soon be four years old, was born
in Singapore and has Malaysian citizenship. Shayan’s mother, respondent Lee Jen Fair, a
Malaysian citizen, lefi Singapore with Shayan on May 20, 2012 without petitioner’s knowledge
or consent and in violation of a Singapore court order prohibiting either parent from taking the
child out of Singapore. She traveled to the United States where neither petitioner, respondent,
nor the child has any meaningful ties or connections. The petition is brought pursuant to the
Hague Convention on the Civil Aspects of International Child Abduction, Oct. 25, 1980, T.LA.S,
No. 11,670, 1343 U.N.T.S. 89 (“Hague Convention”), and its domestic implementing legislation,
the International Child Abduction Remedies Act, 42 U.S.C. §§ 11601 et seg. (ICARA”).

On October 18, 2012, shortly after the father learned that the child and respondent
were living in Dutchess County, New York, he filed a petition with this Court. (Docket No. 1.)

The Court held ex parte proceedings on October 18, 2012, October 22, 2012, and November t,
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2012, On November 1.' after hearing the testimony from the petitioner and his investigators, the
Court granted the application for an order directing the U.S. Marshal to take “all necessary and
lawful steps” to “remove Shayan” from his mother’s custody and deliver him “into the custody
of [pletitioner.” (Docket No. 5.) Petitioner was ordered to surrender his passport and post a
$10,000 bond. (Id.) On November 7, 2012, both parties appeared with counsel, and the Court
scheduled an evidentiary hearing. The Court appointed Professor Jennifer Baum as a guardian
ad litem for Shayan. (Docket No. 9.)

During the nine-day evidentiary hearing held between December 3, 2012 and
December 14, 2012, the Court heard testimony from fact witnesses including: (1) petitioner, (2)
respondent; (3) petitioner’s counsel in the Singapore civil proceedings, Ms. Winnifred Gomez,
Esq.; (4) petitioner’s private investigator, Ms. Tamatha Stitt; (5) respondent's mother, Ms, Mei
Yoke Chew; and (6) respondent’s sister, Ms. Jen Pink Lee.” Mr. Abed Awad provided expert
testimony for the petitioner regarding Islamic family law and the Singapore legal system, Ms.
Yasmeen Hassan testified as an expert for the respondent regarding the secular Singapore legal
system and Sharia Law in Singapore, Malaysia, and Iran. Also, Dr. B.J. Cling, a forensic and
clinical psychologist, testified on behalf of respondent on the subject of domestic violence.

Based upon the record asa whole and the Court's assessment of the credibility of

 

''The Court expresses appreciation to the U.S. Marshal Service, District Executive and staff, Clerk's Office stalf,
court reporter, and mainicnance crew who enabled the Court to conduct a hearing during the Hurricane Sandy
closure

* On the first day of the proceeding, respondent's counsel applied, pursuant to Rule 43(a), Fed. RB. Civ, P., for leave
to have several fact witnesses testify by live video feed. The Court dented respondent's application. (12/03/12 Tr.
98-103,) Respondent asked the Court to reconsider its decision by written application, Ruling from the bench, the
Court again denied the application finding that “eood cause in cormpelling circumstances” had not been
demonstrated. (12/04/12 Tr, 194-204 (citing Rule 43(a), Fed RB. Civ, P.; Matovski v, Matovski, No. Oi Ciy, 4259
(PEC), 2007 WL 1575253 (S.D.N.¥. May 31, 2007 )).)

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Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 18 of 50 PagelD: 347
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the witnesses, this Court finds by a preponderance of the evidence that petitioner has established
each required element under the Hague Convention: (1) the child was a habitual resident of
Singapore; (2) the child’s removal was in breach of petitioner's custody rights; and (3) petitioner
was exercising those rights at the time of the child's removal. The Court further finds that
respondent has failed to prove by clear and convincing evidence either of her affirmative
defenses (1) that the child will be subjected to a grave risk of harm if he returns to Singapore,
Hague Convention, art. 13(b), or (2) that fundamental principles of the United States relating to
the protection of human rights and fundamental freedoms do not permit repatriation of the child,
id., art. 20.
BACKGROUND

Since 2000, petitioner has been an employment-pass holder in Singapore, where
he has worked. (12/03/12 Tr, 72-73.) He first traveled to Singapore in 1985 and set up his
company there in 1989, (12/03/12 Tr. 72; 12/05/12 Tr. 132.) The head office of the business he
owns is located in Singapore and has twelve employees. He also owns a business in Iran,
(12/05/12 Tr. 128-29, 132.)

Respondent has permanent resident status in Singapore. (12/10/12 Tr. 537.) In
June 2008, respondent stopped working outside of the home, She previously held the position of
brand manager of a jewelry company dealing in precious stones, which had a “few branches of
retail stores around Singapore.” (12/11/12 Tr. 601-604.) Before this, respondent worked for
over four years as an assistant markeling manager at Diageo, a high-end aleoholic beverage

distributor, and for approximately two years as retail manager for a cosmetic company’s five or

 

 

‘The Court cites to the hearing transcript and exhibits in the course of this Memorandum and Order, These citations

are nod intended in every case to reflect the Court's sole source of support for lhe proposition. In many instances,
they are merely examples.
Case 2:17-cv-12179-SDW-LDW Document 46 Filed 07/26/18 Page 19 of 50 PagelD: 348
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six stores. (Id.) Respondent's sister, with whom she resided in the months immediately prior to
her departure to the ULS., is a U.K.-trained lawyer who serves as Vice President Regional
Counsel of Citibank in Singapore. (12/12/12 Tr. 806.) Both petitioner and respondent are
intelligent, sophisticated individuals. Neither is trained in law but both have displayed an ability
io navigate legal systems in Singapore, Malaysia, and the United States.

Petitioner and respondent met in 1995 and maintained contact for over a decade.
(12/03/12 Tr, 76.) In or around 2006, they began dating in Singapore. Respondent had practiced
Christianity since childhood but, during the course of her relationship with the petitioner,
converted to Islam. (12/06/12 Tr. 397-400.) In 2007, the couple married, and on January 16,
2008, they registered their marriage in Singapore. (12/06/12 Tr. 403.) Shayan was born on
January 29, 2009. (Petr. Ex. C, Annex 1.) As noted, the child has Malaysian citizenship and had
resided in Singapore from birth until the respondent removed the child to the United States.
(12/04/12 Tr. 39-41.)

There was considerable strife in the marriage, and on April 29, 2011, while the
couple still resided together, (12/10/12 Tr. 555-56), respondent filed an application for sole
custody, care, and control of the child in the High Court of the Republic of Singapore. (Petr, Ex.
C, Tab A.) On May 16, 2011, she obtained an ex parte order from the Subordinate Courts of the
Republic of Singapore prohibiting petitioner from removing the child from the jurisdiction of
Singapore without respondent's consent or the court’s approval. (Petr. Ex. ©, Tab B,)
Respondent left the marital home with the child on May 25, 2011 and moved into her sister's
Singapore apartment. Shortly thereafier, petitioner was served with a copy of the May 16, 2011
order. (12/03/12 Tr. 83-84; 12/10/12 Tr. 554-55.) Petitioner filed a cross-application for sole

custody on June 28, 2011. (Petr. Ex. C, Tab C.)

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Because petitioner had not seen Shayan in over fifty days, petitioner’s counsel in
the Singapore civil proceedings advised petitioner that a mediation judge could help facilitate
access to the child. The parties’ solicitors attended a pretrial conference and requested mediation,
(12/03/12 Tr. 17.) Ata mediation session held on July 14, 2011, the Subordinate Court issued an
order prohibiting both parties from remoying the child from Singapore. (Petr. Ex. C, Tab D.)
The Order also granted petitioner supervised visitation every Saturday between 3 p.m. to 5 p.m.
at the Centre for Family Harmony, the costs of which were to be borne equally. (Id.)

Persons of the Muslim faith are a small minority in Singapore, By statute, divorce
actions between individuals of the Muslim faith must be brought in the Singapore Sharia Courts.
Administration of Muslim Law Act, Part IIL, § 35(2) (‘AMLA”). Sometime around the end ol
2011, respondent brought an action for divorce in the Singapore Sharia Courts. (12/04/12 Tr. 24,
§8-5% TRIU/12 Tr. 652, 655-56; Petr. Ex. J.) Respondent attended a mandatory counseling
session within the Sharia Court. (12/11/12 Tr. 670.) Petitioner testified that he did not
participate in the action, (12/04/12 Tr. 24-25.) Although no documentary evidence indicates the
current status of the Singapore divorce action, petitioner's Singapore counsel testified that the
divorce action did not proceed. (12/03/12 Tr. 43.)

The Singapore Subordinate Court continued to function on issues relating to
temporary custody of the child and visitation and on February 16, 2012, alter a mediation session
presided over by a judge of the Singapore Subordinate Court, the court ordered that “Tthhe child
shall continue to be in the care of the mother pending the determination of custody, care, and
control of the child by the Syariah Courts” and that “[(he father shall have access to the child

two times a week at the Centre for Family Harmony pending the outcome of the hearing of the
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Syariah Courts.” (Petr. Ex. C, Tab H.) The order states in boldfaced capital letters, which are
underscored, that it was entered “BY CONSENT.” (Id.) Respondent did not make an
application to vacate or appeal this order. (12/11/12 Tr. 666-67.)

Petitioner last saw respondent and Shayan in Singapore on May 17, 2012.
(12/03/12 Tr. 89.) On May 20, 2012, the respondent left Singapore in breach of the July 14,
2011 order. Respondent then failed to produce the child at petitioner's scheduled visit on May
24, 2012 and did not appear at a scheduled court mediation session on May 28, 2012. (12/04/12
Tr. 26-28.)

Suspecting that respondent had fed, petitioner filed a police report, and the police
determined that respondent left Singapore with the child. (12/04/12 Tr. 27-29.) Petitioner
obtained a court order requiring the respondent to deliver the child to the Duty Judge of the
Subordinate Courts Family and Juvenile Division within seven days and surrender the child’s
personal documents. This order specified that “[t]he child be placed in the interim sole care and
control of” the petitioner “pending the determination of the action or until further Orders.” (Petr.
Ex, C, Tab J.) The same order further directed that respondent be restrained from removing the
child from the jurisdiction without the consent of petitioner or the court. (Id.) Respondent, who
was no longer in the country and likely did not receive notice of the June 5, 2012 order, did not
comply and was held in contempt on June 25, 2012, (Petr. Ex. C, Tab L.)

DISCUSSION
First, the Court will outline the elements of petitioner’s prima facie case under the

Hague Convention and set forth its finding of facts relating thereto. Next, it will set forth the

 

‘Singapore court documents refer to the Sharia Courts as the “Syariah Couns.” For ease, the Court will use
“Sharia” for all references to such laws or courts

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elements of respondent’s affirmative defenses under Articles 13(b) and 20 of the Convention
followed by its findings relevant to the affirmative defenses.
1. Petitioner’s Case under the Hague Convention

The Hague Convention seeks to “secure the prompt return of children wrongfully
removed to or retained in” signatory states. Hague Convention, art. 1, Blondin_v. Dubois, 189
F.3d 240, 241 (2d Cir. 1999) (“Blondin II”). The United States has ratified the treaty and
implemented its terms through ICARA. Singapore acceded to the treaty in May 2012.

Under the Hague Convention, a child’s removal from a signatory state is wrongful
when “{(a)] it is in breach of rights of custody attributed to a person, an institution or any ather
body, either jointly or alone, under the law of the State in which the child was habitually resident
immediately before the removal or retention; and [(b)] at the time of removal or retention those
rights were actually exercised, cither jointly or alone, or would have been so exercised but for the
removal or retention,” Hague Convention, art. 3. ‘The treaty applies to children under the age of
16, Id. art. 4,

A person may exercise his rights under the Convention by filing a petition in a
court “authorized to exercise its jurisdiction in the place where the child is located at the time the
petition is filed.” 42 U.S.C. § 11603{b). In order to prevail, petitioner must establish by a
preponderance of the evidence that “the child has been wrongfully removed or retained within
the meaning of the Convention... .” 42 U.S.C, § 11603(e). This requires showing that “(1) the
child was habitually resident in one State and has been removed to or retained in a different
State; (2) the removal or retention was in breach of the petitioner's custody rights under the law
of the State of habitual residence; and (3) the petitioner was exercising those rights at the time of

the removal or retention.” Gitter v. Gitter, 396 F.3d 124, 130-31 (2d Cir. 2005), The Supreme

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Court held in Abbott vy. Abbott, 130 S. Ct. 1983, 1992-93 (2010), thal a statutory ne exeat right-

the right not to have the child removed from the jurisdiction without consent—is a right of
custody for purposes of the Hague Convention. A “person cannot fail to ‘exercise’ [his] custody
rights under the Hague Convention short of acts that constitute clear and unequivocal

abandonment of the child.” Friedrich v. Friedrich, 78 F.3d 1060, 1066 (6th Cir. 1996).

 

The Court finds that petitioner has established each and every element of a prima
facie case under the Hague Convention. Both the United States and Singapore are signatories to
the Convention. The child is under 16 years of age, was born in Singapore and resided there
unui] respondent removed the child to the United States. The child was a habitual resident of
Singapore. Petitioner was exercising custody rights at the time of the removal, specifically his
parental rights under an express order precluding either parent from removing the child from the
jurisdiction of Singapore without the other's consent. (Petr. Ex. C, Tab D.) He also regularly
and faithfully exercised his court-ordered visitation rights in Singapore.

2, Respondent’s Affirmative Defenses

“{Ojnce [petitioner] establishes that removal was wrongful, the child must be
returned unless the [respondent] can establish one of four” narrow exceptions apply. Blondin II,
189 F.3d at 245-46 (quoting Friedrich, 78 F.3d at 1067 (emphasis added)). In this case,
respondent urges that the Court should deny the petition because two such exceptions apply,
Hague Convention Articles 13(b) and 20. The respondent bears the burden of proving these
exceptions by clear and convincing evidence, 42 U.S.C. $ 11603(e).

a, Article 13(b): The Grave Risk of Harm Defense
Article 13(b) of the Hague Convention provides that the signatory state “is not

bound to order the return of the child” if “there is a grave risk that his or her return would expose

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the child to physical or psychological harm or otherwise place the child in an intolerable
situation.” Hague Convention, art. 13(b). Although the respondent bears the burden of
establishing by clear and convincing evidence that the exception applies, 42 U.S.C. §
11603(e)(2)(A), subsidiary facts may be proven by a preponderance of the evidence, Danaipour
v. McLarey, 286 F.3d 1, 13 (Ist Cir. 2002), see also In re Lozano, 809 F. Supp. 2d 197, 224
(S.B.N.Y. 2011).

The Second Circuit considered the “grave risk” exception at length in Blondin Il
and Blondin y, Dubois, 238 F.3d 153 (2d Cir, 2001) (“Blondin IV"). The court explained that
mere showings of “inconvenience or hardship” do not amount to a “grave risk” of harm.
risk of being hurt, physically or psychologically, as a result of repatriation.” Id. The court cited
with approval the Sixth Circuit's observation that a “grave risk” to the child presents itself in two

situations:

(1) where returning the child means sending him to ‘a zone of war,
famine or disease’; or (2) ‘in cases of serious abuse or neglect, or
extraordinary emotional dependence, when the court in the country
of habitual residence, for whatever reason, may be incapable or
unwilling to give the child adequate protection.”

In the years since the Second Circuit's consideration of the Blondin case, several
federal courts have found “a child’s observation of spousal abuse is relevant to the grave-risk
inquiry.” E.g., Elyashiv_v. Elyashiv, 353 F. Supp. 2d 394, 408 (E.D.N.Y. 2005). Indeed,
“children are at increased risk of physical and psychological injury themselves when they are in
contact with a spousal abuser.” Id. (citing Tsarbopoulos v. Tsarbopoulos, 176 F. Supp. 2d 1045,

1058 (E.D. Wash, 2001) (citations omitted)). Accordingly, evidence of “[p]rior spousal abuse,

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though not directed at the child, can support the grave risk of harm defense.” Rial v. Rijo, 10
Civ. 1578 (RJH), 2010 WL 1643995, at *2 (S.D.N.Y. Apr. 23, 2010) (citing Walsh v. Walsh,
221 F.3d 204 (1st Cir, 2000)). Still, the court need not “refuse to send a child back to [his] home
country in any case involving allegations of abuse, on the theory that a return to the home
country poses a grave risk of psychological harm.” Blondin IV, 238 F.3d at 163 0.12, Rather,
that determination must be based on the “specific facts presented in [the] case.” Id.

When making a grave risk determination, the court must also consider whether
the child can be protected from the risk of harm “while still honoring the important treaty
commitment to allow custodial determinations to be made—if at all possible—by the court of the
child's home country.” Blondin II, 189 F.3d at 248. Accordingly, in its deliberation of whether
there is a grave risk of harm, the Court takes into account “any ameliorative measures (by the
parents and by the authorities of the state having jurisdiction over the question of custody) that
can reduce whatever risk might otherwise be associated with a child’s repatriation.” Id. “In
cases of serious abuse, before a [district] court may deny repatriation on the ground thal a grave
risk of harm exists under Article 13(b), it must examine the full range of options that might make
possible the safe return of a child to the home country.” Blondin IV, 238 F.3d at 163 n.11.

For instance, in Blondin v, Dubois, 19 F. Supp, 2d 123, 129 (S.D.N.Y. 1998)
(“Blondin I"), the district court concluded that there would be a grave risk of harm should the
children in that ease be returned to France, the country of their habitual residence. The Second
range of remedies that might allow bath the return of the children to their home country avd their
protection from harm, pending a custody award in due course...” 189 F.3d at 249. On

remand, the district court engaged in further analysis but reached the same conclusion, in part

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because “any return” of the children would “‘almost certainly’ trigger a recurrence of their
traumatic stress disorder.” Blondin y, Dubois, 78 F. Supp. 2d 283, 295 (S.D.N.Y. 2000)
(“Blondin HI”), On appeal, the Second Circuit affirmed the district court's determination that
there was a grave risk of harm to the children because repatriation to the country of habitual
residence created a real risk of triggering further psychological trauma, regardless of any
potential mitigating arrangements. Blondin IV, 238 F.3d at 161.

In applying the standard set out in the Blondin cases, district courts in this Circuit
have denied petitions to return the child where there has been evidence supporting a finding of a
real risk of psychological or physical harm to the child. See, e.., Elyashiv, 353 F. Supp. 2d al
408-09 (evidence petitioner physically abused respondent and the children and expert testimony
that the children would suffer PTSD symptoms upon their return to Israel, regardless of contact
with petitioner}; Reyes Olguin vy, Cruz Santana, No. 03 Civ. 6299, 2005 WL 67094, at *2-*4,
*11-*12 (E.D.N.Y. Jan. 13, 2005) (evidence petitioner frequently beat respondent in front of the
children, children told psychiatrist that petitioner hit them, and expert testimony that return of the
children would exacerbate the PTSD of one child). This Court held in M.M. v. F.R., No. 11 Civ.
2355 (PKC) (S.D.N.Y. June 30, 2011), that respondent had established that repatriating the child
would expose him to a grave risk of physical or psychological harm, because, among other
things, the petitioner had sexually abused the child’s half-sister. But, credible evidence of some
level of abuse by the petitioner does not necessarily equate to establishment of the grave risk to
the child in repatriation, See, e.g., Rial, 2010 WL 1643995, at *2-*3 (evidence of verbal and
physical abuse toward respondent, at times in front of child); Laguna v. Avila, No. 07 Civ. 5136,
2008 WL. 1986253, at *8-*9 (E.D.N.Y. May 7, 2008) (evidence of violence toward respondent,

but no evidence that petitioner physically abused the child).
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The focus of the inquiry is not on the relationship between the two parents or the
desirability of one parent having custody, Rather, the focus should be on whether retuming the
child to the country from which he was removed will present a real risk of harm to the child,
because, for example, it will trigger trauma to the child or the country of habitual residence lacks
ihe means to afford reasonable protection to the child from physical or psychological harm at the
hands of a parent or third-party.

i, Domestic Violence

The Court finds that both parties have deep love for Shayan and care greatly about
his wellbeing. Likewise, the guardian ad litem noted in her December 3, 2012 letter to the Court
ihat petitioner “clearly adores his child” and respondent “is devoted to [the child].”* (Docket No,
33.) Respondent testified that she never saw petitioner physically abuse the child. Moreover,
she never reported to the police any incident where petitioner abused the child, She never
claimed in the Singapore courts that petitioner abused the child. (12/11/12 Tr. 699-700.)

Petitioner and respondent both allege instances of domestic abuse and
inappropriate conduct aimed at one another. For instance, petitioner testified that respondent (1)
often wielded knives in the home to threaten petitioner (12/04/12 Tr, 102-06); (2) cleared out the
marital home when she Ieft on May 25, 2011 (Resp. Ex. 3); and (3) inflicted injuries on herself
and threatened suicide. (12/04/12 Tr. 79-80, 98-101.) The respondent denies each of these
allegations. (12/10/12 Tr. 500 (knives); 12/10/12 Tr, 556 (furniture); 12/10/12 Tr. 500 (self-

inflicted harm).) Respondent alleges that petitioner repeatedly hit, beat, kicked, and sexually

 

regarding visits and access are most appreciated, the guardian's views on ultimate issues. such as the risk that
petitioner would take the child to Iran, which are principally based on the credibility of the parties, are not entitled ta
significant weight,

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abused her, offering several police reports and medical examinations. The petitioner, in turn,
denies these allegations,

Based upon an assessment of credibility and available corroboration or lack
thereof, the Court finds that both parties have exaggerated their claims. The Court recognizes
that victims of spousal abuse often do not come forward to report instances of domestic violence
for many reasons and, therefore, a lack of near-contemporancous documentation does not
necessarily render a victim's claims unbelievable. In this particular case, however, the
respondent did report instances of domestic abuse to the police or to the court. But these police
and medical reports do nat identify the most severe acts of violence claimed before this Court.

Respondent asserts, for example, that petitioner hit and kicked her on her head
and body while calling her mother on the telephone on May 31, 2008, after respondent found out
she was pregnant. (12/10/12 Tr. 441-46.) The respondent filed a police report, (12/10/12 Tr.
447), which detailed that petitioner slapped her several times on her face and kicked her on her
levs. (Resp. Ex. 7.) The next moming, a medical doctor examined respondent and reported that
she “presented with nail marks on her right & lefi cheeks & bruises on the outer aspect of her
right thigh.” (Resp. Ex. 8.) The Court credits respondent’s testimony on this point, which is
generally consistent with the description in the police report. But, respondent’s mother testified
that during the May 31, 2008 phone call her daughter stated that petitioner was kicking her in the
stomach. (12/6/12 Tr, 346.) The Court does not find this testimony credible for several reasons.
When petitioner's counsel asked respondent whether she told her mother that petitioner kicked
her in the stomach, respondent testified that she did not remember. (12/11/12 Tr. 706.)
Respondent's May 31, 2008 police report makes no mention of kicks to the stomach, (Resp. Ex.

7.) Furthermore, the mother’s testimony is not credible in other respects. She affirmed that there

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was no “shadow of a doubt” in her mind that on November 12, 2012 she saw petitioner, without
the child, at John F. Kennedy Airport at a Turkish Airways gate, which is beyond the security
clearance checkpoint, during the pendency of this case and afier the U.S. Marshal had returned
the child to petitioner. (12/06/12 Tr. 381-83.) Having heard petitioner's testimony that he was
with his son on November 12, 2012, the Court concludes that Ms. Chew's testimony was a
fabrication. On November 1, 2012, this Court ordered that petitioner surrender his passport to
the U.S, Marshal and “never leave the boundaries of the Southern and Eastern Districts of New
York” during this proceeding, The Court also ordered that the U.S. Marshal “notify the US
Customs that Petitioner and [the child] should not be allowed to leave the United States until
further order of this Court.” (Docket No. 5.) Thus, the Court finds that the May 31, 2008
incident, pre-dating the birth of Shayan, was physical abuse of respondent but did not involve
kicking a pregnant woman in the stomach.

Respondent also testified regarding two acts of violence occurring in the presence
of the child in 2009, but she did not report cither incident. (12/10/12 Tr. 494.) She stated that in
March 2009, petitioner struck her multiple times on her right shoulder while the child was
breastfeeding in her arms. (12/10/12 Tr. 486-89.) She also testified that around the end of 2009
or beginning of 2010, petitioner insisted during an argument that respondent leave the marital
home, When she refused, the petitioner took the child out of her arms and started to beat her on
the head and back, (12/10/12 Tr. 492-93.) The Court credits respondent’s testimony insofar as it
establishes some form of inappropriate physical contact but concludes that the child was never in
plrysical danger.

Respondent testified that on January 5, 2010, after petitioner threatened her, she

left the house with the child in her arms and ran to a neighbor's house. She testified that

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petitioner pulled her into the marital home, in which he “continued to beat [her].” (12/10/12 Tr.
528-29.) Respondent lodged a police report the next day stating that the petitioner “ransacked
the whole wardrobe to find [the child's] passport and birth certificate,” and “out of fear” she
carried the child out of the house. Respondent further reported that “[petitioner] managed to stop
[her] along the street and there was a scuffle” during which she “sustained scratches and redness
on [her] arms where he had grabbed [her]." (Resp, Ex, 9.) She noted, “[t]his was not the first
time her husband had hit [her].” (Id.) Respondent’s medical report of January 6, 2010 indicates
a bruise in the shape of finger marks on her right upper-arm. (Resp. Ex. 10.) The Court finds it
credible that petitioner did engage in the abuse described in the January 6 police report but that
respondent's testimony at the hearing conceming beating was exaggerated and not credible.

When the respondent and child left the marital home on May 25, 2011, petitioner
filed a police report, stating that his family, maid, clothes, and fumiture were gone. Pelitroner’s
report asserted that respondent attempted suicide twice and had tried to attack him with a kmife
and chopper a few times. (Resp, Ex, 3.) The report also stated that the respondent had nearly
dislocated the child’s arm. (Id.) The police called respondent and insisted that she bring the
child to the siation, There, an officer examined the child, (12/10/12 Tr. 558-60), and respondent
made a police report stating that she voluntarily left the marital home on May 25, 2011 “in fear
that [her] husband [would] turn violent against [her]” when the order she obtained was served on
him, (Resp. Ex. 11.) The Court finds petitioner's account to be exaggerated and not credible.

In 2011, respondent also filed two applications to obtain Personal Protection
Orders (“PPO”) protecting her against abuse by petitioner. Petitioner's Singapore counsel
explained that in order to obtain a PPO, a victim must make a police report and get a medical

report. Then, the victim will “appear before a magistrate to swear to the complaint.” If the

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victim “convinces the judge” that she is “in imminent danger of violence being committed . . .
the court will issue an expedited order on an ex-parte basis.” (12/03/12 Tr. 21-22.) “Thereafter, a
return date will be given for summons to be served” on the alleged aggressor. If the complaint is
disputed, a counseling session is usually held and if the parties still do not agree, the matter
proceeds to trial. (12/03/12 Tr. 22.) During this proceeding, the Singapore court may not
consider evidence of accusations made in prior applications, which have been withdrawn.
(12/03/12 Tr. 55-57.)

The respondent filed her first PPO application on August 16, 2011. The parties
dispute the events leading up to the application. The police report respondent filed on August
15, 2011 explains that she met her husband at his office in order to pick up several packages
belonging to her, Afier he placed the parcels in her car, “|petitioner] sat in the [ront passenger”
seat while petitioner’s brother “started to record [their] actions and conversations with his
camera phone.” (Resp. Ex. 16.) The report also stated that:

My husband had requested for me to accept a number of Malaysia

Court documents which | refused. My husband then grabbed my

handphone and car keys to refrain me from leaving. As such |

tried to retrieve back my handphone and car keys from him, A

struggle then ensued. During the struggle my husband pulled my

hands and also pushed me. [ suffered some brinses and seratches

on my chest and my hands,

(Id.) Respondent was issued an expedited order of protection on an ex parte basis. (Petr, Ex. M-

1.) Petitioner received a summons, (Petr. Ex. C, Tab E), and both parties appeared in court on

Augusi 25, 2011. Ms. Gomez represented petitioner; respondent represented herself.” (12/11/12

“In both of the proceedings to obtain a PPO, respondent was nol represented by counsel. which she testified was
because of the expense. However, Mr. Ahmad Nizam Abbas of the Straits Law Practice, LLC, represented the
respondent in the Singapore custody and diverce proceedings. (12/11/12 Tr. 652-53.) The respondent also retained
counsel for the proceedings petilioner brought ina Malaysian Sharia Court. (12/01/12 Tr, 633.)

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Tr. 620-21.) While petitioner indicated that he wished to proceed to trial, respondent obtained
leave to withdraw her application. (12/05/12 Tr. 192-193; Petr. Ex. C, Tab F.)

In December 2011, respondent applied for a second PPO based on the events of
November 22, 2011. In her November 22, 2011 police report, respondent explained that after a
visitation session at the Centre for Family Harmony, her husband left the Centre before. her
because he insisted that he had an urgent meeting (usually respondent left first, and her husband
left approximately ten minutes Jater). Respondent reported that while driving with her son and
maid, petitioner “tried to stop [her] by overtaking [her] vehicle” several times “in a reckless and
dangerous manner.” (Resp. Ex. 18.) Respondent obtained a second expedited order on
December 1, 2011. (Petr. Ex. M-2.) Petitioner again disputed respondent’s allegations and this
time the matter proceeded to trial. Ms, Gomez represented the petitioner and respondent
represented herself’ al the two-day proceeding, Respondent called no witnesses other than
herself. (12/11/12 Tr. 644, 646-50.) On March 12, 2012, the judge dismissed respondent's
application for lack of evidence and awarded costs to petitioner. (12/11/12 Tr. 651, Petr. Ex. C,
Tab G.) The expedited protective order lost effect once the case was dismissed. (12/03/12 Tr.
26.)

Respondent urges that the foregoing events punctuated an otherwise sustained
pattern of coercion and control by petitioner. Respondent testificd that after the marriage was
registered, petitioner became more controlling, for instance, making respondent ask permission
to go out and discouraging her friendships. (12/06/12 Tr. 422, 428-29.) Respondent testified
that petitioner frequently criticized respondent and called her derogatory names, (12/10/12 Tr.
485, 501.) Respondent asserted that at times petitioner shouted al Shayan as well.

Respondent also testified that petitioner forced her to engage in certain sexual

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acts, including anal and oral intercourse, which often occurred in the marital bedroom where the
child slept. (12/10/12 Tr. 511-13.) The Court does not credit respondent’s testimony because
respondent's SMS text messages to petitioner contradict her account and indicate that she was a
willing participant. (Petr. Ex. 1 1-4.)

Dr, B.J. Cling, retained by respondent, testified as an expert on domestic violence
matters. She is a clinical and forensic psychologist as well as an attorney. Over the course of
her career, Dr. Cling has completed two judicial clerkships, worked as an associate al three large
corporate law firms in New York City, performed private forensic work, and written numerous
publications in the area of forensic psychology. (12/13/12 Tr. 952-53; see also Resp. Ex. 34.)
While Dr, Kling is principally a forensic psychologist, she spends a portion of her time in clinical
practice, and about 20 percent of that practice involves treating patients who have suffered
domestic violence. (12/13/12 Tr. 955.) Dr. Cling opined that respondent suffered from
symptoms of post-traumatic stress disorder (“PTSD”) and depression. (12/13/12 Tr. 1019.) Dr.
Cling testified about a specific type of domestic violence termed “coercive control” or “intimate

terrorism,” (12/13/12 Tr. 974-75), which “has as its main focus the domination and control of the
victim.” (12/13/12 Tr. 981.) This type of violence is severe, frequent, and very harmful to
children. (Id.) Moreover, when the victim and perpetrator separate, (he characteristics of
“coercive control” often escalate. (12/13/12 Tr. 989.) Here, however, the evidence does not
support any conclusion that petitioner is an obsessed or jilted lover who secks to be reunited with
respondent or prevent others from being with her.

During her evaluation of respondent, Dr. Cling employed a “danger assessment
tool” and determined that petitioner posed an “extreme danger” to respondent. (12/13/12 Tr.

994-95, 999.) The tool requires an assessor lo ask the victim yes-or-no questions, accept the

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victim’s answers as true, and score the questions based on the specific point values the tool
assigns. (12/13/12 Tr. 997, 1005.) The factors Dr. Cling checked during her evaluation of
respondent included, for example, that petitioner (1) owned a gun (which was assigned four
times the weight of other factors); (2) engaged in violence toward the victim during pregnancy;
(3) followed or spied on the victim; (4) threatened to kill the victim; (5) engaged in forced sex
with the victim; (6) attempted to choke the victim; and that (7) the victim believed that the
perpetrator had the potential to kill her. (12/13/12 Tr. 1003-07.) The Court finds that this
“danger assessment tool” is a crude but useful checklist for those who may come in contact with
victims of domestic violence; its predictive power in this case, however, is of minimal value. Dr.
Cling did not conduct an examination of petitioner or of the child, There was no credible
evidence in the proceeding that petitioner owned a gun, although respondent's sister asserted that
he knew how to use a gun. (12/12/12 Tr. 816.) All other factors were based upon sel{-reporting
by respondent or her family members.

With regard to the claim that petitioner restricted respondent’s access to others,
the Court finds the claim not to be credible. While the parties cohabited, respondent travelled at
least twice to Malaysia to visit her mother with Shayan and petitioner, (12/06/12 Tr. 367-68.)
Also, in the last four months of cohabitation, respondent's sister lived with respondent and
Shayan while she found housing in Singapore, (12/12/12 Tr. 808.) Further, the couple had a
maid in their home throughout the period of cohabitation.

Despite the wide latitude afforded the parties at the nine-day hearing, there is no
credible evidence thal petitioner physically abused the child. Indeed, respondent never saw
petitioner physically harm the child, (12/11/12 Tr, 699-700.) None of the police reports filed by

respondent on May 31, 2008 (Resp. Ex. 7), January 6, 2010 (Resp, Ex. 9), May 25, 2011 (Resp.

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Ex. 11}, August 15, 2011 (Resp. Ex. 16), and November 22, 2011 (Resp. Ex. 18), includes
allegations of physical violence toward the child. The guardian ad litem’s letter of December 3,
2012 states that the child “reported never being physically disciplined ....” (Docket No, 33.)
Respondent urges that the return of the child poses a grave risk of harm because
he will bear witness to petitioner's abuse of respondent. The Court finds that petitioner engaged
in abusive conduct toward the respondent. This included shouting and offensive name-calling.
It also included several incidents of physical abuse where the petitioner kicked, slapped, grabbed,
and hit the respondent, which were near-contemporaneously reported by her to the police. The
Court finds that the child was in respondent’s arms when petitioner grabbed her during the
January 5, 2010 incident, (Resp. Ex. 9), and that the child was in respondent's vehicle on
November 22, 2011. (Resp. Ex. 18.) However, there is no credible evidence that petitioner and

respondent will ever cohabit again. And, unlike in the Blondin case, there is no eredible

 

evidence that the return of this soon-to-be four-year-old child to Singapore would itself trigger a
srave risk of psychological harm. There is no credible evidence, as in Blondin If, that the child
himself suffers from PTSD or will have a negative reaction to being repatriated to Singapore.
Furthermore, the Court finds that Singapore is well-equipped to miligate any risk
of harm to the child pending a final custody determination. During the pendency of the
Singapore custody proceedings, the Singapore Subordinate Courts acted with sensitivity to the
case and needs of the parties. Indeed, when respondent alleged petitioner was violent and
planned to leave the country with the child, the Singapore civil courts granted temporary
physical custody, care and control to respondent and weekly supervised visitation to petitioner.
The visits took place on over thirty occasions at the Centre for Family Harmony.

The Centre for Family Harmony provides a location for child visitation for “couples who are

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having custody issues... while awaiting the outcome of the trial.” Respondent usually observed
“at least three or four” employees of the Centre for Family Harmony present during supervised
visits. (12/10/12 Tr. 573-74.) Petitioner’s access to the child was confined to a room where
counselors observed the visits or they were video recorded, (12/03/12 Tr. 30.) “[The counselors]
would speak to the parties and they would submit a report to the Family Court.” (Id.) The
Centre for Family Harmony kept detailed records summarizing petitioner’s scheduled visits with
the child, (Petr, Ex. WH.) The Centre also facilitated the parents’ drop-offs and pick-ups of the
child. (Id.)

Additionally, each time respondent applied for a PPO, she obtained an ex parte
expedited order of protection. (Petr. Ex. M-1, M-2.) Respondent chose to dismiss her first
application and not call witnesses at the trial regarding the second application. While respondent
asserts she could not afford representation for the PPO proceedings, she had retained counsel for
the Singapore custody, Singapore divorce and Malaysian custody proceedings.

Finally, when the petitioner made allegations of harm te the child in his May 25,
2011 police report, the police station called respondent and asked her to come to the station, At
the station, the child was physically examined. Based on the credible evidence before the Court,
Singapore has adequate protections in place to prevent harm to the child pending a final custody
determination if respondent avails herself of them.

ii. Citizenship and Immigration Status

As noted, petitioner has an employment-pass, which allows him to reside in
Singapore. He has significant ties to Singapore bul also has significant ties to ran, Petitioner's
parents reside in [ran in a home owned by petitioner. Petitioner’s business in Iran has seven

employees. (12/05/12 Tr. 129-132.)

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Respondent testified that petitioner took steps to move the child to fran and have
respondent’s Malaysian citizenship revoked, which, she contends, poses a grave nsk of harm to
the child because the permanent resident statuses of mother and child in Singapore are contingent
upon Malaysian citizenship. Malaysia prohibits citizens from holding dual-citizenship and “will
revoke” the Malaysian citizenship “if the citizen is found out to have two” citizenships.
(12/10/12 Tr. 522; see also 12/11/12 Tr. 681; Resp. Ex. 22.) Documentary evidence shows that
actions were laken in order for respondent to obtain Iranian citizenship and travel documents.
However, respondent and petitioner dispute whether respondent knew of or consented to these
actions. (12/04/12 Tr. 21-25; 12/10/12 Tr. 540.)

Respondent testified that in 2009 petitioner said he “was always wanting to bring
Shayan to Iran.” (12/10/12 Tr, 522.) Likewise, around the middle of 2010, petitioner told her
that he wanted to “relocate back to [ran” with the respondent and child and enrol] the child in an
Iranian military school, (12/10/12 Tr. 505.)

In March 2009, petitioner told respondent that he “wanted to apply for multiple
entry visas to Malaysia” and register their marriage as well as Shayan’s birth with the Iranian
Consulate in Malaysia.’ (12/10/12 Tr. 517-18.) To prepare for the visit to the Consulate,
respondent obtained passport-size photos of herself as well as of the child. Respondent claims
petitioner told her the photos would be submitted with the marriage registration forms.
(12/10/12 Tr. $18.) At the Iranian Consulate in Malaysia, respondent signed a form and
provided her thumbprint, She testified that it was her understanding that she was taking steps to
“register [the] marriage and to register [the child’s birth].” (12/10/12 Tr. 519-20.) The couple
returned to the [ranian Consulate two weeks after their first visit. Respondent testified that on

“There is no Iranian Consulate in Singapore, (12/10/12 Tr. 518.)

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this occasion she saw a passport with a photograph of the child inside and became “worrted
because this was not what [petitioner] told [her]” they were doing. (12/10/12 Tr. 520.)

During the course of the marriage petitioner kept the personal documents of the
respondent and child in his office safe. (12/10/12 Tr. 482.) At the end of 2009, respondent
asked petitioner for the child’s birth certificate and Malaysian passport in order to register him
for a nursery play group. (12/10/12 Tr. 525-26.) She instead gave these decuments to a friend
for safekeeping, until petitioner asked for the child’s documents back in January 2010, (12/10/12
Tr. 526-27.) Respondent testified that in early January 2010 petitioner said “if he can’t get hold
of the documents tonight, he will kill me.” (12/10/12 Tr. 527.) Petitioner managed to leave the
home and run toward a neighbor for help, but petitioner caught up to her and told the neighbor
not to interfere.” (12/10/12 Tr. 528.) The next day respondent collected the documents and
provided them to petitioner. (12/10/12 Tr. 536.)

Respondent testified that petitioner indicated “he want[ed] lo go back to Iran to
manage the Iran business.” (12/10/12 Tr, 539,) The respondent's sister, Ms. Jen Pink Lee, who
lived with the parties in their home between January and May 2011, testified that around March
or April 2011 petitioner told her he “wanted to get divorced” and “take Shayan away to Iran
because he doesn’t want my sister to bring Shayan up.” (12/12/12 Tr. 820-22.) Ms. Jen Pink
Lee then began to look for her own apartment so that the respondent could move in with her,
(12/12/12 Tr. 823-24.)

After respondent left the marital home in May 2011, respondent did not allow

petitioner to visit with Shayan because she was “afraid” thal petitioner would “take Shayan to

 

* This incident corresponds to the events described in the January 6, 2010 police and medical reports. (Resp, Ex. 9
Resp. Ex. 10.)

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Iran, because he was threatening to do that.” (12/10/12 Tr. $64.) Respondent alleges that in
mid-Jiine 201 |, petitioner called respondent and told her that he had obtained an Iranian passport
for her and that “he was going to the Malaysian [Embassy] in Singapore” to report respondent.”
(12/10/12 Tr. 563.) She went to the Malaysian Embassy in Singapore to explam what had
happened because she feared her Malaysian citizenship would be revoked, (12/10/12 Tr. 565.)
On July 1, 2011, Mr. Ahmad Nizam Abbas, respondent’s attorney, wrote to the Malaysian
National Registration Department Headquarters asking the Department to confirm whether there
was information received regarding the respondent and Shayan’s passports. Respondent's
lawyer’s letter stated that petitioner “had taken out Iranian passport for her and their child” and
that petitioner had “made a complaint to the authorities of Malaysia High Commission in
Singapore for action to be taken against her from this . , . .” (Resp. Ex. 15.) The parties’
atlomeys in the Singapore custody proceedings exchanged several communications regarding the
issuance of Iranian passports for respondent and the child. (E.g., Resp. Ex. 12; Petr. Ex. X.)

In March 2012, a letter regarding respondent's Malaysian citizenship, addressed
to respondent at her mother’s address in Kuala Lumpur, required respondent to “attend to this
matter in the time limit of 20 days” and warned that “failure to attend in the required time limit
is an offence .. . and your identification card will be blacklisted.” (Resp. Ex. 21 (emphases in
original).) Respondent testified that she responded by giving a statement and submitting the
required documents, (12/11/12 Tr. 674-77.) In a letter dated June 18, 2012, the Malaysian
National Registration Department informed respondent that it had received a complaint that she

held a passport released by the. Iranian Embassy in Kuala Lumpur on June 3, 2011, The

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A letter from the Iranian Consulate in Malaysia to the Malaysian Ministry of Home Affairs National Registration
Department, dated September 28, 2011, indicates that respondent applied for an Iranian national card on June 21,
2011 and an Iranian passport on February 6, 2011. (Resp. Ex. 6.) The passport issued on June 3, 2011, (Id)

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Department, therefore, requested thal respondent contact the Department “so that immediate
investigation [could] take place before any action of revocation of citizenship takes place.”
(Resp. Ex. 22.)

Respondent urges that the child will face a grave risk of harm if the petition is
granted because petitioner intends to lake the child to Iran. Respondent argues thal petitioner
obtained Iranian passports for her and the child without her knowledge or consent, as part of
petitioner's scheme to strip respondent of her Malaysian cilizenship, jeopardize her permanent
residency status in Singapore, and force the family to reside in Iran, In Iran, respondent would
be unable to protect the child from a grave risk of harm, and might even be deprived of seeing
the child again, which, she urges, would itself qualify as a grave risk of harm.

The Singapore civil courts have already afforded respondent ample opportunity
during the course of the custody proceedings to prove these allegations of a plot to strip her of
Malaysian citizenship and force her to live in Iran. In this proceeding, respondent has not proven

that such a plot exists or, if it does, that it will likely come to fruition.'” First, respondent's

' Respondent also argues that the laws of a third foreign jurisdiction, Malaysia, pose a grave risk of harm to the
child. In June 2011 petitioner traveled to Malaysia to look for his wife and child. A letler written by respondent's
Singapore counsel in July 2011 indicates respondent made a trip to Malaysia to attend to requests of the Malaysian
lheh Commission regarding her citizenship. (Resp. Ex, 12.) When petitioner discovered the respondent and child
were Slaying in Malaysia at the home of respondent's mother, he fled a custody application with a Malaysian Sharia
Court on anex parte basis, (Resp. Ex. 37; Resp. Ex. 38.) A Malaysian court order divided custody between the
parents, Respondent then challenged the Malaysian court's jurisdiction over ihe matter and the court agreed. The
action was dismissed, The parties and the child returned to Singapore. (12/04/12 Tr. 83-90; 12/08/12 Tr. 153-55.)
Petitioner appealed ihe Malaysian Sharia Court's decision, but testified m ibis Court that he later ordered his
Malaysian counsel io terminate the appeal. (12/05/12 Tr. 153-153, 192.)

Certain filings with the Malaysian Sharia Court in this action detailed that respondent, a Muslim, was practicing
Christianity. (Resp. Ex. 37) Resp. Ex. 38.) Ms. Hassan testified that under mosi schools of Islamic though, a
Muslim does not have the right to renounce [slam and that in Malaysia apostasy is a crime punishable by death,
(12/3/12 Tr. 910.) Losing a parent would invariably qualify as a grave risk of harm. However, respondent has not
proven that such risk of harm exists in this case

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credibility regarding these accusations was undermined at trial. Respondent claimed that she
could not confirm her suspicions that an Iranian passport had been issued to her until this
proceeding, when she first saw a photocopy of an Iranian passport. But, the letter of her
Singapore attorney, who is her agent, insisted back on July 20, 2011 that respondent “ha[d] scen
the Iranian passport of herself and her son... .” (Resp. Ex. 12.) In a December 2011 letter
regarding Shayan’'s Iranian passport, respondent's attorney again maintained that “[respondent]
had obtained her own Iranian passport through [petitioner's] efforts and [was] thus speaking
from experience.” (Petr. Ex. AA.) Second, respondent did not establish that it is more likely
than not her Malaysian citizenship would be revoked. In fact, a letter dated June 18, 2012 from
the Malaysian authorities still asked respondent to “contact” the Malaysian authorities “so that
immediate investigation can take place before any action of revocation of citizenship takes
place.” (Resp. Ex. 22.) There is no evidence that Malaysian authorities would be unsympathetic
to or unable to act on a claim, if true, that she had involuntarily become an Iranian citizen.
Third, respondent did not offer credible evidence establishing that, if her Malaysian citizenship
were revoked, she and the child could no longer reside in Singapore. Petitioner's counsel
elicited on cross-examination that respondent had not looked at the Singapore government's
website regarding permanent residency status requirements in “many years.” (12/11/12 Tr. 701-
02.) When the Court then asked respondent if she had “done any investigation or checking or
inquiry or looking at websites to determine the grounds on which [she] would be able to reapply”
for permanent residency status, the respondent replied that she had not. (12/11/12 Tr. 703.)
Although the Court credits thal, at some point in time, petitioner would like to
lake the child to Iran where his mother lives, the Court finds that respondent has failed to

demonstrate that petitioner is likely to do so in violation of a Singapore court order. The Court

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in Singapore could place tight conditions on out-of-country travel and ensure the mother’s rights
of access to the child, It also could deny petitioner's request outright. The July 14, 2011 court
order prohibiting both parties from taking the child out of the jurisdiction of Singapore remains
in effect, (12/03/12 Tr. 20-21.) There is no credible evidence that petitioner has violated any
Singapore court order in any significant respect,'' Petitioner has lived in Singapore since 2000
and has had a business there since 1989. Respondent has failed to prove that petitioner would
likely abandon his business in Singapore and risk being found in contempt of a Singapore court
with the associated sanctions that could be imposed upon him.'*
b. Article 20: The Human Rights and Fundamental Freedoms Exception

Article 20 permits the requested State to refuse the return of the child when it
“would not be permitted by the fundamental principles of the requested State relating to the
protection of human rights and fundamental freedoms.’” Hague Convention, art. 20."° The
Article 20 defense must be “restrictively interpreted and applied” “on the rare occasion that
return of a child would utterly shock the conscience of the court or offend all notions of due
process,” Department of State, Hague International Child Abduction Convention: Text_and
Legal Analysis, Pub. Notice 957, 51 Fed. Reg. 10,494, 10,510 (1986). The exception is “not to

be used, for example, as a vehicle for litigating custody on the merits or for passing judgment on

 

" A December 2011 letter from respondent's Singapore counsel to Ms. Gomez says that petitioner was delinquent in
returning Shayan’s birth certificate to respondent, pursuant to the Singapore court's May 16, 2011 order. (Petr. Ex.
AA)

" See, ee. Petr, Ex. C, Tab L (finding respondent guilty of contempt of court and imposing fines and, upon default,
ane week imprisonment).

"The Court invited the LS, Attorney's Office for the Southem District of New York or a representative from the
LLS. Department of State to comment on this issue, (Docket No. 22.) Ina letter dated December 14, 2011, the LS.
Attorney's Office declined to make a substantive comment at this time “in light of the number of facts and disputes
that remain unsettled” inidhe case. (Docket No. 31.)

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the political system of the country from which the child was removed.” Id. The parties do not
cite and the Court cannot find any published federal case law in which the Article 20 exception
was found to have been established. See Uzoh v. Uzoh, No. 11 Civ. 9124, 2012 WL 1565345, at
*7 (N.D. IIL. May 2, 2012) (noting the same).

Mr. Abed Awad, retained by petitioner, and Ms. Yasmeen Hassan, retained by
respondent, testified regarding the legal system in Singapore. Neither has practiced law in
Singapore. Petitioner's Singapore counsel, Ms, Gomez, who testified as a fact witness, regularly
practices in the family court of Singapore and testified before this Court.

Respondent argues that returning the child is not permitted by the fundamental
principles of the Linited States because the custody determination in Singapore will be made ina
Sharia Court, AMLA grants the Sharia Courts in Singapore considerable discretion in
considering evidence from non-Muslims. See AMLA § 42(3). Ms. Hassan testified that a
woman's testimony is worth less than a man’s in the Sharia Courts. (12/13/12 Tr. 907-08.)
Moreover, she testified that Sharia Law applies presumptions favoring fathers and disfavering
non-Muslim parents in custody determinations. (12/13/12 Tr. 900.) These rules, respondent
urges, ought shock the conscience and offend notions of due process. The Court concludes,
however, that it need not reach the issue of whether the procedural and substantive rules in
Sharia Courts “shock the conscience” or “offend all notions of due process” because the Court
finds that respondent has failed to prove that it is more likely than not that the Sharia Court will
make a final custody determination in this case.

As noted, Singapore is a predominantly non-Muslim country with about 15
percent of the population as Muslim. Singapore has a dual legal system in which civil and Shania

Courts function concurrently. AMLA sets out guidelines for the Sharia Courts in Singapore and

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vests them with limited jurisdiction. For instance, a Sharia Court does not have jurisdiction to
consider domestic violence matters, including applications for protective orders, (12/05/12 Tr.
230, 233.) The Sharia Courts have exclusive jurisdiction in divorce actions where both spouses
are Muslim or where the parties were married under the provisions of the Muslim Law. AMLA
§ 35(2). Unless a spouse commences a divorce action in the Sharia Court, the Sharia Court ts
“divested of any authority or jurisdiction in [a custody] matter.” (12/05/12 Tr. 236.) However,
when a divorce action is pending in Sharia Court, the Sharia Court also has jurisdiction to decide
ancillary matters of custody and division of property.

Still, AMLA provides procedural mechanisms for a litigant in Sharia Court to
commence or continue custody proceedings in the Singapore civil courts, A civil court would be
able to decide the issue of custody if both parties “consent to the commencement of the civil
proceedings” or “consent to the continuation of the civil proceedings,” and obtain a certificate of
attendance, which is issued after a counseling session. AMLA §4 35A(3), 35A(7). If the parties
do not consent, the Sharia Court may still, in its discretion, grant an application for leave to
commence or continue civil custody proceedings, AMLA §$ 35A(1), 35A(2), if “every party
who will be affected by such leave has been notified of the application at Jeast 7 days before the
grant of such leave,” AMLA § 35A(3), and the partics “attend counseling provided by such
person as the Court may appoint.” AMLA § 35A(6), The frequency with which these provisions
are invoked in practice is unknown, in part because there is no system of recorded judgments.
(12/13/12 Tr. 931.)

True, the order of February 16, 2012 of the Singapore family court contemplates
that the issue of custady will be determined by the Sharia Courts. But that order was entered into

afier a mediation session and was "BY CONSENT” of the parties, each of whom was

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represented by counsel and neither of whom challenged the order, If respondent had objected to
the Sharia Court acting on the custody matter, one would expect her counsel to have documented
the client’s desire or intent to have the Sharia Court stand down in favor of the Singapore Court.
The Court rejects the respondent’s after-the-fact claims that she never consented to the matier
proceeding in the Sharia Court. The petitioner’s expert set out plausible grounds why she may
have rationally thought such a path was in her interest. (12/05/12 Tr. 231-33.) Thus, any
unfairness in the process in Sharia Court is, in this case, a self-inflicted wound.

Bult in any cvent, circumstances have evolved which make it likely that the
Singapore family court where respondent's original custody petition and petitioner's cross-
petition remain pending will exercise jurisdiction over the custody dispute. First, the Court finds
that there is no divorce action currently pending between the parties in the Sharia Courts in
Singapore, (12/03/12 Tr, 43.) Second, in an affidavit dated December 7, 2012, petitioner
affirmed that he “undertake[s] not to pursue any action in the Syariah Court of Singapore in
relation to the custody, care and control of [his] san” and “commit[s] to the custody proceedings
being continued and adjudicated upon in the Family Court of Singapore within the realm of civil
proceedings.” (Petr, Ex, IL) The affidavit was sworn to at the Singapore Consulate in
Manhattan, and Ms. Gomez filed the dacument as an affidavit in the Subordinate Courts of
Singapore on December 11, 2012. (Id.) Ms. Gomez testified before this Court that petitioner’s
undertaking, if given to the Family Court of Singapore, is binding and enforceable. (12/03/12
Tr. 62.) According to Gomez, ii will require a judge to enter a court order for it to be punishable
by contempt. (12/03/12 Tr. 62-63.) Petitioner has familial ties and significant business interests
in Singapore. He has been substantially compliant with court orders during the pendency of the

Singapore proceedings and these proceedings. Respondent has failed to prove that custody will

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be determined by the Sharia Courts rather than the civil courts,

Respondent also urges that there are insufficient protections against domestic
violence in Singapore, and thus, Article 20 bars the child’s repatriation. But the Court finds that
Singapore has reasonable procedures to ensure the safety of the child during the pendency of the
custody proceedings including supervised visitation, Moreover, respondent was able to obtain
two expedited orders, and had the opportunity to proceed to trial on each application in order to
obtain permanent PPOs. It may be the case that respondent was barred in the second proceeding
from bringing up evidence relating to the first application, which she voluntarily dismissed, due
to the court’s evidentiary rules, However, this does not rise to the level of shocking the
conscience or offending all notions of due process.'* Accordingly, fundamental principles of the
United States regarding the rights and freedoms of domestic violence victims do not prohibit the
return of the child under Article 20.

CONCLUSIONS

Based on the findings of fact, the Court concludes that petitioner has proven by a
preponderance of the evidence that (1) the child was a habitual resident of Singapore, (2) the
removal of the child from Singapore violated petitioner’s custody rights under the law of
Singapore; and (3) that petitioner was exercising these rights at the time of the child's removal.

These are the only required elements he need prove under the Hague Convention,

 

4 Article 20 is silent as to whether it applies only to the human rights and fundamental freedoms of the child, or to
the parties in the cuse as well, See Uzohv. Ueoh, No, 11 Civ. 9124, 2012 WL 1565345, at *7 (ND. IL May 2,
2012) (respondent “presented nothing to suggest that Article 20 applies ta the protection of a parent's human rights
and fundamental freedoms. as opposed to those [of] ihe children"); Freier vy. Freier, 969 F. Supp. 436 (E.D. Mich,
1996) (“The Court has focused primarily on Respondent's rights even though itis not clear that Ihe Hague
Convention's focus under Article 20 is on the parents’ rights as opposed to the child's rights"), The Court
concludes that Article 20 is broad enough to encompass the rights of the parties but only insofar as they relate to the
exercise of custody rights of the child,

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The Court concludes that respondent has not proven by clear and convincing
evidence her defense under Article 13(b) of the Convention, i.c. that returning the child to
Singapore will subject the child to a grave risk of harm.

The Court also concludes that respondent has not proven by clear and convincing
evidence her defense under Article 20 of the Convention, that returning the child ts prohibited by
the fundamental principles of the United States relating to the protection of human rights and
fundamental freedoms.

Because petitioner has established his case under the Hague Convention and
respondent has failed to prove her Article 13(b) and Article 20 defenses, the Convention and the
case law cited above require that the petition be granted. The petition is granted.

STAY OF ORDER PENDING APPEAL

The Court has considered whether to stay its Order pending the hearing and
determination of an appeal, For reasons that will be explained, the Court concludes that it would
be an improvident exercise of discretion to stay the Order pending appeal.

in leaving Singapore with the child in violation of the Singapore court's order, the
mother traveled from Singapore to Taipai and then booked a separate trip from Taipai to Los
Angeles, making it more difficult ta uncover her ultimate destination. Once in Los Angeles, she
travelled to the community of Red Hook, New York in Dutchess County. Petitioner located the
mother and child through the use of private investigators and a bit of luck in matching a social
network photo of a relative of the mother featuring a nail salon in the background with photos of
nail salons available on the internet. The Court ultimately ordered the U.S. Marshal Service to
take the child and turn him over to the father. This, thankfully, was executed peacefully and

expertly on November 2, 2012 without significant incident. Based upon the foregoing, as well as

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the mother’s proven willingness to flaut the orders of the court in Singapore, which led to that
court granting the father temporary custody of the child, this Court has ordered the child to
remain in the father’s temporary custody with liberal visitation by the mother in locations that
are capable of being monitored. The Court has disallowed overnight visits with the mother or
visits in locations that cannot be monitored because there is a significant risk that she will flee
with the child and avoid detection.

Neither the father nor the mother has significant ties to the United States. The
father entered the United States only afier this proceeding was commenced. He is living
temporarily in Kingston, New York, which is located in Ulster County, and delivers the child for
visitations in Dutchess County by taxi. Unlike a parent with some roots in a community or the
country, he has only improvised access to babysitters or other services. He has a business in
Singapore with twelve employees to which he has not returned since arriving for this proceeding.

Disputes have arisen over the length and locations of visits. A United States
District Court, even with the assistance of a pro bono guardian ad litem, is unable to offer
facilities or monitoring services that would regularize supervised visits. For instance, to address
concems regarding Shayan’s transition between parents at the end of scheduled visits, his
father’s taxi drivers had served as “objective wilnesses” to the guardian ad litem. (Docket No,
34.) After the completion of the hearing, there was a dispute as to whether visitations at the
maternal uncle’s home permitted the child to play on the property surrounding the house and
whether the guardian ad litem was authorized to alter or extend visitations hours, (Docket No.
32.) In contrast, the Centre for Family Harmony in Singapore has a proven track record in this
case of successfully monitoring visits. [It has a facility with amply appointed rooms where visits
may take place with the assistance of vigilant nearby staff.

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The treaty between the United States and Singapore contemplates the “prompt”
return of the child to the country of habitual residence. See Hague Convention, art, 1. This
Court will grant a stay of return until January 16, 2013 at 5 p.m. to permit a stay application to be
made to the United States Court of Appeals for the Second Circuit and otherwise denics a stay

pending appeal,

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SO ORDERED.

    

 

PLE Castel

United States District Judge

New York, New York
December 26, 2012

aa
